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                                          Exhibit B

                                     Betance Declaration




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )    Chapter 11
                                                                      )
    OFF LEASE ONLY LLC, et al.,1                                      )    Case No. 23-11388 (CTG)
                                                                      )
                              Debtors.                                )    (Joint Administration Requested)
                                                                      )

    DECLARATION OF SHERYL BETANCE IN SUPPORT OF APPLICATION OF THE
        DEBTORS FOR ENTRY OF ORDER AUTHORIZING RETENTION AN
                    APPOINTMENT OF STRETTO, INC. AS
                      CLAIMS AND NOTICING AGENT


             Pursuant to 28 U.S.C. § 1746, I, Sheryl Betance, declare under penalty of perjury that the

following is true and correct to the best of my knowledge, information, and belief:

             1.     I am a Senior Managing Director of Corporate Restructuring at Stretto, Inc.

(“Stretto”), a chapter 11 administrative services firm with offices at 410 Exchange, Ste. 100, Irvine,

CA 92602. Except as otherwise noted, I have personal knowledge of the matters set forth herein,

and if called and sworn as a witness, I could and would testify competently thereto.

             2.     This Declaration is made in support of the above-captioned debtors’ (collectively,

the “Debtors”) Application of the Debtors for Entry of Order Authorizing Retention and

Appointment of Stretto, Inc. as Claims and Noticing Agent, to which this declaration is attached

(the “Application”).2

                                                   Qualifications



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate Holdings
      LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress Ave.,
      Palm Springs, FL, 33406.
2
      Capitalized terms used but not otherwise defined herein have the meanings set forth in the Application.

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        3.       Stretto is a chapter 11 administrator comprised of leading industry professionals

with significant experience in both the legal and administrative aspects of large, complex chapter

11 cases. Stretto’s professionals have experience in noticing, claims administration, solicitation,

balloting, and facilitating other administrative aspects of chapter 11 cases and experience in

matters of this size and complexity. Stretto’s professionals have acted as official claims and

noticing agent in many large bankruptcy cases in this district and in other districts nationwide.

Stretto has developed efficient and cost-effective methods to handle the voluminous mailings

associated with the noticing and claims processing portions of chapter 11 cases to ensure the

efficient, orderly and fair treatment of creditors, equity security holders, and all parties in interest.

Stretto’s active and former cases include: In re iMedia Brands, Inc., Case No. 23-10852 (KBO)

(Bankr. D. Del. July 3, 2023); In re Peer Street, Inc., Case No. 23-10815 (LSS) (Bankr. D. Del.

June 28, 2023); In re Lunya Co., Case No. 23-10783 (BLS) (Bankr D. Del. June 22, 2023); In re

Internap Holding LLC, Case No. 23-10529 (CTG) (Bankr. D. Del. May 2, 2023); In re Pear

Therapeutics, Inc., Case No. 23-10429 (TMH) (Bankr. D. Del. Apr. 12, 2023); In re AmeriMark

Interactive, LLC, Case No. 23-10438 (TMH) (Bankr D. Del. Apr. 13, 2023); In re Codiak

BioSciences, Inc., Case No. 23-10350 (MFW) (Bankr. D. Del. Mar. 29, 2023); In re Ryze

Renewables II, LLC, Case No. 23-10289 (BLS) (Bankr. D. Del. Mar. 11, 2023); In re Allegiance

Coal USA Ltd., Case No. 23-10234 (CTG) (Bankr. D. Del. Mar. 9, 2023); and In re AD1 Urban

Palm Bay, LLC, Case No. 23-10074 (KBO) (Bankr. D. Del. Mar. 27, 2023).

                                      Services to be Rendered

        4.       As agent and custodian of Court records pursuant to 28 U.S.C. § 156(c), Stretto will

perform, at the request of the Office of the Clerk of the Bankruptcy Court (the “Clerk”), the

noticing and claims-related services specified in the Application and the Engagement Agreement,



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and, at the Debtors’ request, any related administrative, technical, and support services as specified

in the Application and the Engagement Agreement. In performing such services, Stretto will

charge the Debtors the rates set forth in the Engagement Agreement, which rate structure is

attached as Exhibit 1 to Exhibit A to the Application.

        5.       Stretto represents, among other things, the following:

                 (a)         Stretto is not a creditor of the Debtors;

                 (b)         Stretto will not consider itself employed by the United States government
                             and shall not seek any compensation from the United States government in
                             its capacity as the Claims and Noticing Agent in these chapter 11 cases;

                 (c)         By accepting employment in these chapter 11 cases, Stretto waives any
                             rights to receive compensation from the United States government in
                             connection with these chapter 11 cases;

                 (d)         In its capacity as the Claims and Noticing Agent in these chapter 11 cases,
                             Stretto will not be an agent of the United States and will not act on behalf
                             of the United States;

                 (e)         Stretto will not employ any past or present employees of the Debtors in
                             connection with its work as the Claims and Noticing Agent in these chapter
                             11 cases;

                 (f)         Stretto is a “disinterested person” as that term is defined in section 101(14)
                             of the Bankruptcy Code with respect to the matters upon which it is to be
                             engaged;

                 (g)         In its capacity as Claims and Noticing Agent in these chapter 11 cases,
                             Stretto will not intentionally misrepresent any fact to any person;

                 (h)         Stretto shall be under the supervision and control of the Clerk’s office with
                             respect to the receipt and recordation of claims and claim transfers;

                 (i)         Stretto will comply with all requests of the Clerk’s office and the guidelines
                             promulgated by the Judicial Conference of the United States for the
                             implementation of 28 U.S.C. § 156(c); and

                 (j)         None of the services provided by Stretto as Claims and Noticing Agent in
                             these chapter 11 cases shall be at the expense of the Clerk’s office.

        6.       Although the Debtors do not propose to retain Stretto under section 327 of the

Bankruptcy Code pursuant to the Application (such retention will be sought by separate

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application), I caused to be submitted for review by our conflicts system the names of potential

parties-in-interest (the “Potential Parties in Interest”) in these chapter 11 cases. A list of Potential

Parties in Interest, attached hereto as Exhibit 1, was provided by the Debtors and included, among

other parties, the Debtors, non-Debtor affiliates, current and former directors and officers of the

Debtors, secured creditors, lenders, the Debtors’ largest unsecured creditors on a consolidated

basis, the United States Trustee and persons employed in the office of the United States Trustee,

and other parties. The Potential Parties in Interest list was compared to an internal database that

includes, among others, Stretto’s parent entities, affiliates, and subsidiaries. Stretto’s internal

database also includes Stone Point Capital LLC (“Stone Point”), its funds, and each such fund’s

respective portfolio companies as set forth in the list most recently provided to Stretto by Stone

Point’s internal compliance department (the “Stone Point Searched Parties”). The results of the

conflict check were compiled and reviewed by Stretto professionals under my supervision. At this

time, and as set forth in further detail herein, Stretto is not aware of any connection that would

present a disqualifying conflict of interest. Should Stretto discover any new relevant facts or

connections bearing on the matters described herein during the period of its retention, Stretto will

use reasonable efforts to promptly file a supplemental declaration.

        7.       To the best of my knowledge, and based solely upon information provided to me

by the Debtors, and except as provided herein, neither Stretto, nor any of its professionals, has any

materially adverse connection to the Debtors, their creditors or other relevant parties. Stretto has

and will continue to represent clients in matters unrelated to these chapter 11 cases. In addition,

in matters unrelated to these chapter 11 cases, Stretto and its personnel have and will continue to

have relationships personally or in the ordinary course of business with certain vendors,

professionals, financial institutions, and other parties in interest that may be involved in the



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Debtors’ chapter 11 cases. Stretto may also provide professional services to entities or persons that

may be creditors or parties in interest in these chapter 11 cases, which services do not directly relate

to, or have any direct connection with, these chapter 11 cases or the Debtors. Based upon a review

of the Potential Parties in Interest:

       FTI Consulting has been identified as a Potential Party in Interest. Robert Medlin, a Senior

        Managing Director with FTI Consulting, is a current client of Stretto’s depository services

        business in his individual capacity, but such relationship is unrelated to the Debtors and

        their estates, assets, or businesses.

       Additionally, the list of Potential Parties in Interest includes the following entities, which

        are current, former or potential defendants to avoidance actions brought under the

        Bankruptcy Code by clients of Stretto Recovery Services: IBM Corp., American Express,

        Microsoft, and Banc of America Leasing & Capital, LLC. However, to the best of my

        knowledge, such relationships are materially unrelated to these chapter 11 cases.

        8.       To the best of my knowledge, none of Stretto’s employees are related to bankruptcy

judges in the District of Delaware, the United States Trustee for Region 3, or any attorney known

by Stretto to be employed in the Office of the United States Trustee serving the District of

Delaware.

        9.       Certain of Stretto’s professionals were partners of or formerly employed by firms

that are providing or may provide professional services to parties in interest in these cases. Except

as may be disclosed herein, these professionals did not work on any matters involving the Debtors

while employed by their previous firms. Moreover, these professionals were not employed by

their previous firms when these chapter 11 cases were filed. To the best of my knowledge, none

of Stretto’s professionals were partners of, or formerly employed within the last three years by



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firms that are Potential Parties in Interest or that have filed a notice of appearance in these chapter

11 cases.

        10.      Stretto and its personnel in their individual capacities regularly utilize the services

of law firms, investment banking and advisory firms, accounting firms, and financial

advisors. Such firms engaged by Stretto or its personnel may appear in chapter 11 cases

representing the Debtors or parties in interest. To the best of my knowledge, Stretto does not

currently utilize the services of any law firms, investment banking and advisory firms, accounting

firms, or financial advisors who have been identified as Potential Parties in Interest or who have

filed a notice of appearance in these chapter 11 cases.

        11.      In April 2017, Stretto was acquired by the Trident VI Funds managed by private

equity firm Stone Point. Stone Point is a financial services-focused private equity firm based in

Greenwich, Connecticut. The firm has raised and managed nine private equity funds – the Trident

Funds – with aggregate committed capital of approximately $40 billion. Stone Point targets

investments in the global financial services industry and related sectors.

        12.      The following disclosure is made out of an abundance of caution in an effort to

comply with the Bankruptcy Code and Bankruptcy Rules. Stretto has searched the names of the

Debtors and the names of the Potential Parties in Interest against the Stone Point Searched Parties.

Based solely upon the foregoing search, Stretto has determined that Allied Benefit Systems, LLC,

owned by Trident Fund VIII, has been identified as an insurance provider of the Debtors.

However, to the best of Stretto’s knowledge, Stretto’s relationship to this entity does not create

any adverse interest against the Debtors’ estates that would present a disqualifying conflict of

interest, and there are no other connections that require disclosure.      To the extent Stretto learns

of any material connections between Stone Point’s funds or investments included in the above-



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described conflicts search and the Debtors, Stretto will promptly file a supplemental disclosure.

Stretto may have had, may currently have, or may in the future have business relationships

unrelated to the Debtors with one or more Stone Point entities including, among others, portfolio

companies of Stone Point.

        13.      From time to time, Stretto partners or employees personally invest in mutual funds,

retirement funds, private equity funds, venture capital funds, hedge funds and other types of

investment funds (the “Investment Funds”), through which such individuals indirectly acquire a

debt or equity security of many companies, one of which may be one of the Debtors or their

affiliates, often without Stretto’s or its personnel’s knowledge. Each Stretto partner or employee

generally owns substantially less than one percent of such Investment Fund, does not manage or

otherwise control such Investment Fund and has no influence over the Investment Fund’s decision

to buy, sell, or vote any particular security. Each Investment Fund is generally operated as a blind

pool, meaning that when the Stretto partners or employees make an investment in the particular

Investment Fund, he, she or they do not know what securities the blind pool Investment Fund will

purchase or sell, and have no control over such purchases or sales.

        14.      From time to time, Stretto partners or employees may personally directly acquire a

debt or equity security of a company that may be one of the Debtors or their affiliates. Stretto has

a policy prohibiting its partners and employees from using confidential information that may come

to their attention in the course of their work. In this regard, subject to the foregoing, all Stretto

partners and employees are barred from trading in securities with respect to matters in which

Stretto is retained. Subject to the foregoing, upon information and belief, and upon reasonable

inquiry through email survey of Stretto’s employees, Stretto does not believe that any of its




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partners or employees own any debt or equity securities of a company that is a Debtor or of any of

its affiliates.

         15.      To the best of my knowledge, Stretto (a) does not hold or represent an interest

adverse to the Debtors’ estates; (b) is a “disinterested person” that (i) is not a creditor, an equity

security holder, or an insider, (ii) is not and was not, within two years before the Petition Date, a

director, officer, or employee of any of the Debtors, and (iii) does not have an interest materially

adverse to the interest of the Debtors’ estates or of any class of creditors or equity security holders,

by reason of any direct or indirect relationship to, connection with, or interest in, the debtor, or for

any other reason; and (c) has disclosed all of Stretto’s connections with the Debtors, its creditors,

any other party in interest, their respective attorneys and accountants, the U.S. Trustee, or any

person employed in the office of the U.S. Trustee.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge, information, and belief.


  Dated: September 7, 2023                      /s/ Sheryl Betance
                                                Sheryl Betance
                                                Senior Managing Director
                                                Stretto, Inc.
                                                410 Exchange, Ste. 100
                                                Irvine, California 92602




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